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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                   PENSACOLA DIVISION
                               CASE NO. 3:18-cv-571-RV-EMT
JESSICA N. ROGERS, as personal representative
of the Estate of Jose F. Escano-Reyes, and as
parent and natural guardian of Y.C., a minor child,
                                     Plaintiff,
v.
DEP. JOHN GADDIS in his individual capacity,
DEP. MICHELLE BAUMAN in her individual capacity,
and SHERIFF BOB JOHNSON, in his official capacity,
                                     Defendants.
________________________________________________/
            [PLAINTIFF’S PROPOSED PHASE I] VERDICT FORM
        We, the jury, return the following verdict:


        1. Was Defendant Gaddis deliberately indifferent to Mr. Escaño-Reyes’s
           serious medical/psychiatric needs, and if so, did his deliberate
           indifference legally cause Mr. Escaño-Reyes’s death?
           YES_____           NO_____
           If your answer to Question 1 was “Yes,” please proceed to Question 2. If
           your answer to Question 1 was “No,” please proceed to Question 3.

        2. Did Defendant Gaddis act with reckless indifference to Mr. Escaño-
           Reyes’s federally protected rights such that the imposition of punitive
           damages is warranted?

           YES_____           NO_____

           Please proceed to Question 3.
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   3. Did Defendant Gaddis act with wanton or willful disregard for Mr.
      Escaño-Reyes’s human rights and/or safety, and if so, was his conduct a
      substantial factor in causing Mr. Escaño-Reyes’s death?
      YES_____        NO_____
      If your answer to Question 3 was “Yes,” please proceed to Question 4. If
      your Answer to Question 4 was “No,” please proceed to Question 5.


   4. Do you find, by clear and convincing evidence, that Defendant Gaddis is
      liable for intentional misconduct or gross negligence, which was a
      substantial cause of Mr. Escaño-Reyes’s death, such that the imposition of
      punitive damages is warranted?
      YES_____        NO_____
      Please proceed to Question 5.


   5. Was Defendant Bauman deliberately indifferent to Mr. Escaño-Reyes’s
      serious medical/psychiatric needs, and if so, did her deliberate
      indifference legally cause Mr. Escaño-Reyes’s death?
      YES_____        NO_____
      If your answer to question 5 was “Yes,” please proceed to question 6. If
      your answer to Question 5 was “No,” please proceed to question 7.


   6. Did Defendant Bauman act with reckless indifference to Mr. Escaño-
      Reyes’s federally protected rights such that the imposition of punitive
      damages is warranted?
      YES_____        NO_____
      Please proceed to Question 7.
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   7. Did Defendant Bauman act with wanton or willful disregard for Mr.
      Escaño-Reyes’s human rights and/or safety, and if so, was Defendant
      Bauman’s conduct a substantial factor in causing Mr. Escaño-Reyes’s
      death?
      YES_____        NO_____


      If your answer to question 7 was “Yes,” please proceed to question 8. If
      your answer to question 7 was “No,” please proceed to question 9.


   8. Do you find, by clear and convincing evidence, that Defendant Bauman
      is liable for intentional misconduct or gross negligence which was a
      substantial cause of Mr. Escaño-Reyes’s death, such that the imposition
      of punitive damages is warranted?
      YES_____        NO_____
         Please proceed to Question 9.


   9. Did one or more of the employees or agents of the Santa Rosa County
      Sheriff’s Office violate Mr. Escaño-Reyes’s constitutional rights and, if
      so, did Defendant the Santa Rosa County Sherriff’s Office have one or
      more widespread practices or courses of conduct that were, by
      themselves or together, a moving force behind Mr. Escaño-Reyes’s
      death?
        YES_____      NO_____
         Please proceed to Question 10.


      If you answered “Yes” to any of questions 1-9 above, please proceed to
      Question 10. If you answered “No” to all of questions 1-9 above, then
      you should proceed no further other than to sign and date the verdict
      form and return it to the courtroom.
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   10. What is the total amount of damages that [insert name of Minor Child]
      has sustained and will sustain in the future for lost parental consortium,
      instruction, and guidance and for mental pain and suffering as a result of
      Mr. Escaño-Reyes’s death?
      $_________________________________


         Please sign and date the verdict form and return it to the courtroom.
         SO SAY WE ALL this ______ day of ____________, 2021.


                                         _________________________
                                         Foreperson


                             Respectfully submitted,
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                             BY: /s/Bradford Rothwell Sohn
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                                      BRAD R. SOHN
                                      FLA. BAR NO. 98788




                        CERTIFICATE OF SERVICE

      I certify that the foregoing was filed via CM/ECF this 1ST day of June,
2021, which will serve all parties of record.
                               BY: /s/Bradford Rothwell Sohn

                                      BRAD R. SOHN
                                      FLA. BAR NO. 98788
